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AO 108 (EDVA Version, Rev. 10/20) Application by Telephone or Other Reliable Electronic Means a Warrant to Seize Property Subject to Forfeiture



                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Eastern District of Virginia

                In the Matter of the Seizure of                                )
             (Briefly describe the property to be seized)                      )
                                                                               )        Case No.
                                                                               )
                                                                               )

                  APPLICATION BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
                     FOR A WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE


         I, a federal law enforcement officer or attorney for the government, request a seizure warrant and
state under penalty of perjury that I have reason to believe that the following property in the
                     District of                              is subject to forfeiture to the United States of America
under                  U.S.C. §                                                          (describe the property):




          The application is based on these facts:




              Continued on the attached sheet.


                                                                                                             Applicant’s signature
 Reviewed by AUSA/SAUSA:

                                                                                                             Printed name and title


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. 4.1
by reliable electronic means, specifically                          (describe the means).




Date:
                                                                                                               Judge’s signature


City and state:
                                                                                                             Printed name and title
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